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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


TROY LAMONT MOORE, SR.                        :      CIVIL ACTION

      V.                                      :      NO. 14-3873

MARGARET McGROGAN, RN, et al.                 :

                                       ORDER

      AND NOW, this        day of            , 2015 it is hereby ordered that the motion for

summary judgment of Troy Lamont Moore, Sr. is DENIED.

                                       _______________________________________
                                       THE HONORABLE EDUARDO C. ROBRENO
                                       UNITED STATES DISTRICT JUDGE
